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                               March 13, 2024


     Pursuant to LCrR 57.1E(4), NDGa, I request that the Court
not schedule any court appearances on:

                     MAY 10, 2024 – MAY 13, 2024; and
                     MAY 27, 2024 – JUNE 7, 2024.


      Thank you for your consideration in this matter.

Yours very truly,

s/Steven Berne_

SPB/cp
